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                                      UN ITED STATES DISTRICT CO UR T
                                      SOUTJIERN DISTRICT OF FLORIDA
                                      CASE NO.17-cr-80242-ROSENBERG
           UM TED STATES O F A M ER IC A

                 V.

           ALEJAN DR O AN DR ADE CEDENO ,

                 D efendant.
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                                             O RDER TO UN SEAL

                 TheUnited StatesofAmerica,having appliedtothisCourtforan ordertounseal,and the

           Courtfinding good cause:

                 IT IS HEREBY ORDERED thatthedocketshould beunsealed,exceptastt?thosedocket
           entriesthathave been sealed ptlrsuantto a specilic and independentCourtOrder.

                 D ON E AND ORD ERED in chém bers at W est Palm Beach,Florida,this         day of

           N ovem ber2018.




                                                            20#.ROBIN ROSENBERG
                                                            UNITED STATESDISTRICTJUPGE
           CC: M ichaelB.N adler,AU SA
               VanessaSistiSnyder,DOJTrialAttom ey
               PaulHayden,DOJ TrialAttom ey
               Robertö M artinez,Esq.
               CurtisM iner,Esq.
